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            EXHIBIT 3
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                                                                           October, 2016
                                 Curriculum Vitae
Rebecca A. Betensky                                    Home:
Department of Biostatistics                            1019 Centre Street
Harvard T.H. Chan School of Public Health              Newton, MA 02459
655 Huntington Avenue                                  (617) 969-9630
Boston, MA 02115                                       e-mail: betensky@hsph.harvard.edu
(617) 432-2821




Degrees:

 1987       A.B., Mathematics, Harvard University
 1992       Ph.D., Statistics, Stanford University

Positions:
 2011 –             Director, Biostatistics Program, Harvard Catalyst (Clinical and Transla-
                    tional Science Center), Harvard University
 2008 –             Director, Biostatistics Core, Alzheimer’s Disease Research Center, Mas-
                    sachusetts General Hospital
 2007 –             Professor, Department of Biostatistics, Harvard School of Public Health
 2007 –             Member, Affiliated Faculty, Harvard-MIT Division of Health Sciences and
                    Technology (HST)
 2007 –             Biostatistician, Massachusetts General Hospital
 2004 –             Director, Training Program in Neurostatistics and Neuroepidemiology,
                    Harvard School of Public Health
 2003 – 2008        Co-Director, Initiative for Minority Student Development (IMSD) Training
                    Program, Harvard School of Public Health
 2005   –   2009    Leader, Biostatistics Program, Dana-Farber/Harvard Cancer Center
 2002   –   2005,
 2009   –   2015
             Co-Leader, Biostatistics Program, Dana-Farber/Harvard Cancer Center
 2002   –    Director of Statistics, Harvard NeuroDiscovery Center (formerly HCNR)
 2000   –
        2007 Associate Biostatistician, Massachusetts General Hospital
 1999   –
        2006 Associate Professor, Department of Biostatistics, Harvard University
 1998   –
        2000 Assistant Biostatistician, Massachusetts General Hospital
 1994   –
        1999 Assistant Professor, Department of Biostatistics, Harvard University
 1993   –
        1994 Assistant Professor, Department of Preventive Medicine and Statistics,
             Northwestern University
 1992 – 1993 Postdoctoral Scholar, Department of Health Research and Policy, Division
             of Epidemiology, Stanford University
 Summer 1990 Research Assistant, Statistical Models and Methods Research Department,
             AT&T Bell Laboratories, Murray Hill, NJ
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Rebecca A. Betensky

Teaching Experience:
 2015 –        Post-doctoral advisor for Sy Han Chiou, Department of Bio-
               statistics, Harvard School of Public Health
 2013 – 2015   Post-doctoral advisor for Eyal Kimchi, Department of Bio-
               statistics, Harvard School of Public Health
 2012 – 2014   Post-doctoral advisor for Nicte Mejia, Department of Bio-
               statistics, Harvard School of Public Health
 2012 – 2014   Post-doctoral advisor for Folefac Atem, Department of Bio-
               statistics, Harvard School of Public Health
 2011 – 2014   Post-doctoral advisor for Josephine Asafu-Adjei, Depart-
               ment of Biostatistics, Harvard School of Public Health
 2010 – 2012   Post-doctoral advisor for Mahmut Gurol, Department of Bio-
               statistics, Harvard School of Public Health
 2010 – 2011   Post-doctoral advisor for James Berry, Department of Bio-
               statistics, Harvard School of Public Health
 2010 – 2011   Post-doctoral advisor for Fariba Mirzaei, Department of Nu-
               trition, Biostatistics, Harvard School of Public Health
 2009 – 2011   Post-doctoral advisor for Jing Qian, Department of Bio-
               statistics, Harvard School of Public Health
 2009 – 2010   Post-doctoral advisor for Vivek Unni, Department of Bio-
               statistics, Harvard School of Public Health
 2009 – 2010   Post-doctoral advisor for Nazem Atassi, Department of Bio-
               statistics, Harvard School of Public Health
 2009 – 2010   Post-doctoral advisor for Sarah Emerson, Department of
               Biostatistics, Harvard School of Public Health
 2008 – 2010   Post-doctoral advisor for P. Grace Harrell, Department of
               Biostatistics, Harvard School of Public Health
 2007 – 2010   Post-doctoral advisor for Norberto Pantoja, Department of
               Biostatistics, Harvard School of Public Health
 2007 – 2008   Post-doctoral advisor for Caterina Stamoulis, Department of
               Biostatistics, Harvard School of Public Health
 2006 – 2008   Post-doctoral advisor for Anand Viswanathan, Harvard
               School of Public Health
 2005 – 2007   Post-doctoral advisor for Matt Gregas, Department of Bio-
               statistics, Harvard School of Public Health
 2004 – 2006   Post-doctoral advisor for Micha Mandel, Department of Bio-
               statistics, Harvard School of Public Health
 2004 – 2006   Post-doctoral advisor for Michael Irizzary, Department of
               Epidemiology, Harvard School of Public Health
 2004 – 2005   Post-doctoral advisor for Emily Martin, Department of Bio-
               statistics, Harvard School of Public Health
 2000          Advisor for Postdoctoral Fellow, Qiong Yang, Department
               of Biostatistics, Harvard School of Public Health
 2000 – 2001   Advisor for Juhua Luo, Visiting Scholar in Department of
               Nutrition, Harvard School of Public Health

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Rebecca A. Betensky

2014 –      Thesis advisor for Catherine Lee, Department of Biostatis-
            tics, Harvard School of Public Health
2011 – 2013 Thesis advisor for David Swanson, Department of Biostatis-
            tics, Harvard School of Public Health
2008 – 2011 Thesis advisor for Roland Matsouka, Department of Bio-
            statistics, Harvard School of Public Health
2007 – 2010 Thesis advisor for Matthew Austin, Department of Biostatis-
            tics, Harvard School of Public Health
2006 – 2007 Thesis advisor for Daniel Maynard, Department of Biostatis-
            tics, Harvard School of Public Health
2004 – 2007 Thesis advisor for David Engler, Department of Biostatistics,
            Harvard School of Public Health
2004 – 2007 Thesis advisor for Stacia DeSantis, Department of Biostatis-
            tics, Harvard School of Public Health
2002 – 2004 Thesis advisor for Denise Scholtens, Department of Bio-
            statistics, Harvard School of Public Health
2002 – 2005 Thesis adivsor for Bin Zhang, Department of Biostatistics,
            Harvard School of Public Health
2000 – 2004 Thesis advisor for Emily Martin, Department of Biostatis-
            tics, Harvard School of Public Health
2000 – 2004 Thesis advisor for Abigail Matthews, Department of Bio-
            statistics, Harvard School of Public Health
2000 – 2003 Thesis advisor for Nusrat Rabbee, Department of Biostatis-
            tics, Harvard School of Public Health
1996 – 1998 Thesis advisor for Judith Bebchuk of the Department of Bio-
            statistics, Harvard School of Public Health
Summer 2009 Advisor for Masters Thesis for Elena Verbruggen, University
            of Hasselt, Belgium
Summer 2009 Advisor for Michael Mi, Harvard College Statistics Major,
            Program for Research in Science and Engineering (PRISE)
            Fellow
2009 – 2010 Advisor for senior honors thesis for Michael Mi, Harvard
            College Statistics Major




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Rebecca A. Betensky

2006 – 2007 Course Developer and Instructor, BIO251, Statistical Infer-
            ence II, Harvard School of Public Health
2004 – 2005 Course Developer and Instructor, BIO200, Principles of Bio-
            statistics, Harvard School of Public Health
2000 – 2003 Course Developer and Instructor, BIO275ab, Operational
            Mathematics, Harvard School of Public Health
1999, 2004  Course Developer and Instructor, BIO276cd, Sequential
            Analysis, Harvard School of Public Health
1998 – 2000
2011 – 2014 Course Developer and Instructor, BIO231cd, Statistical In-
            ference I, Harvard School of Public Health
1996 – 1997
2016 –      Course Developer and Instructor, BIO216cd/BIO223cd, Ap-
            plied Survival Analysis, Harvard School of Public Health
2005 –      Director and Instructor of HST 190: Introduction to Bio-
            statistics and Epidemiology, Health Science and Technology
            Program, Harvard Medical School and Massachusetts Insti-
            tute of Technology
2002 – 2004 Co-Director and Instructor of HST 190: Introduction to Bio-
            statistics and Epidemiology, Health Science and Technology
            Program, Harvard Medical School and Massachusetts Insti-
            tute of Technology
2002        Co-organizer of Schering-Plough Workshop on Adaptive
            Designs
2000 – 2001 Co-instructor of interdisciplinary seminar course: Research
            Workshop in Applied Statistics (GOV3009)
2003 –      Director of Summer Program in Quantitative Sciences, De-
            partment of Biostatistics, Harvard School of Public Health
2000,2001   Organizer of January short courses in Biostatistics on frailty
            models, computational biology, brain imaging, wavelets,
            Harvard School of Public Health
1999 – 2002 Faculty advisor for Summer Program in Biostatistics for Un-
            derrepresented Minority Students
1996        Organizer of departmental working group on interval cen-
            sored data




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Rebecca A. Betensky

Honors and Awards:
 1987 A. B. Harvard University, cum laude in Mathematics
 1996 Schering Plough Junior Faculty Award
 1998 NIH FIRST Award
 2003 Fellow of the American Statistical Association
 2005 Mortimer Spiegelman Award of the American Public Health Association
      for outstanding contributions to health statistics by a statistician under 40
 2007 Elected Member of International Statistical Institute
 2010 Speaker at Research Day, School of Public Health and Health Sciences,
      University of Massachusetts, Amherst
 2016 Keynote Speaker, 2016 Annual Joint Biostatistics Symposium, co-
      sponsored by The Ohio State University, Case Western Reserve University
      and Cleveland Clinic Foundation


Professional Societies:
American Statistical Association, International Biometric Society




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Rebecca A. Betensky

Professional Service:
 1995            Contract Review, National Institute on Drug Abuse
 1995 –          Referee, Journal of the Americal Statistical Association, Biometrika,
                 Biostatistics, Annals of Statistics, Sequential Analysis, Applied Statis-
                 tics, Annals of Applied Probability, Biometrics, Controlled Clinical Tri-
                 als, Computational Statistics and Data Analysis, Statistics in Medicine,
                 Multivariate, Design and Analysis
 2000            Invited participant in NCI/NINDS Brain Tumor Progress Review Group
                 (PRG) Roundtable Meeting
 2000   – 2005   Editorial Board member, Neuro-Oncology
 2000   – 2006   Associate Editor, Biometrics
 2001   – 2004   Associate Editor, Lifetime Data Analysis
 2002            Associate Editor, Journal of Statistical Planning and Inference
 2002   – 2008   Associate Editor, Statistics in Medicine
 2008   – 2012   Associate Editor, Biostatistics
 2002   – 2003   Program Chair Biometrics Section of American Statistical Association for
                 Joint Statistical Meetings, 2003
 2003 – 2007     Permanent Member NIH study section, Biostatistical Methods and Re-
                 search Design (BMRD, formerly SNEM5)
 2003            Invited participant in NCI/NINDS Comprehensive Molecular Analysis of
                 Human Gliomas and Medulloblastomas Meeting
 2004 – 2007     Member, Research Evaluation Panel for NCI sponsored Cooperative Breast
                 Cancer Tissue Resource (CBCTR)
 2008            Invited participant in NCI/NHGRI sponsored “Genomics and Biology of
                 GBM, a TCGA Workshop”
 2009            Reviewer for Institute of Medicine, “Veterans and Agent Orange: 7th Bi-
                 ennial Update”
 2009 – 2011     Permanent Member, NIH Cancer Biomarkers Study Section
 2009 – 2010     Interim Statistical Consultant, New England Journal of Medicine
 2010            Reviewer of the Biostatistics Branch (BB) of the NCI Intramural Program
 2011 – 2013     Member Institute of Medicine Committee on Cognitive Rehabilitation
                 Therapy in Traumatic Brain Injury
 2012 – 2013     Member Institute of Medicine Committee on Health Effects of Agent Or-
                 ange on Viet Nam Veterans
 2013 – 2014     Member Committee on Diversity, American Statistical Association
 2013 –          Statistical Editor, Annals of Neurology
 2014            Reviewer of the Biostatistics Branch (BB) of the NCI Intramural Program
 2014 – 2016     Co-Chair, Scientific Registry of Transplant Recipients (SRTR) Technical
                 Advisory Committee
 2016 –          Member, Board of Scientific Counselors – Clinical Sciences and Epidemi-
                 ology, National Cancer Institute




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Rebecca A. Betensky

Invited Talks
 1996   Yale University, Joint Statistics-Biostatistics Seminar, “Lo-
        cal EM Estimation of the Hazard Function for Interval Cen-
        sored Data”
 1998   Harvard-Schering Plough Conference on Monitoring of Clin-
        ical Trials, “Some Perspectives on Early Stopping in Favor
        of H0 ”
 1998   Drug Information Association Thirty Fourth Annual Meet-
        ing, “Alternative Derivations of a Rule for Early Stopping in
        Favor of the Null Hypothesis.”
 1999   Joint Statistical Meetings, IMS Invited Papers Session on
        “Interval Censored and Panel Count Data,” “Using Condi-
        tional Logistic Regression to Fit Proportional Odds Models
        to Interval Censored Data.”
 2000   Schering-Plough, Biostatistics Seminar, “Computationally
        simple regression for interval censored data.”
 2000   University of Wisconsin, Madison, Biostatistics Seminar,
        “Testing and adjusting for selection bias in a partially retro-
        spective molecular genetic neuro-oncology study.”
 2001   Schering-Plough, Biostatistics Seminar, “Testing for depen-
        dence between failure time and visit compliance with interval
        censored data.”
 2001   Johns Hopkins Biostatistics Seminar, Baltimore, MD
 2001   International Chinese Statistical Association, Chicago, IL
 2001   University of Waterloo Statistics Seminar, Waterloo, CA
 2002   International Indian Statistical Association Conference,
        Northern Illinois University, DeKalb, Illinois
 2002   Institute of Mathematical Statistics Annual Meeting, Banff,
        Canada
 2002   Joint Statistical Meetings, New York, NY
 2002   Bayer Strategic Planning meeting, New Haven, CT
 2003   Pfizer Cancer Colloquium, Groton, CT
 2003   Fifth Annual FDA/Industry Statistical Workshop,
        Bethesda, MD
 2003   Dana-Farber/Harvard Cancer Center Biostatistics Program
        Fall Workshop
 2003   Yale Department of Biostatistics Colloquium, New Haven,
        CT
 2003   Memorial Sloan Kettering Cancer Center Department of Bio-
        statistics Seminar, New York, NY
 2003   Columbia University Department of Biostatistics Seminar,
        New York, NY
 2003   Boston University Department of Mathematics Seminar,
        Boston, MA


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Rebecca A. Betensky

2004   3rd EORTC-NCI International Meeting on Cancer Molecu-
       lar Markers: From Discovery to Clinical Practice, Brussels,
       Belgium (abstract selected for oral presentation)
2004   University of Rochester Department of Biostatistics Seminar,
       Rochester, NY
2004   International Conference on Analysis of Genomic Data,
       Boston, MA
2004   New Jersey Chapter of the American Statistical Association
       25th Spring Symposium on Advances in Survival Analysis
       Methods for Clinical Trials, Piscataway, NJ
2005   International Biometric Society, Eastern North American
       Region, Austin, TX
2005   Boston University Department of Biostatistics Seminar,
       Boston, MA
2005   Simon Fraser University Department of Statistics Seminar,
       Vancouver
2005   Workshop on Survival Analysis (Keynote speaker), CRM,
       University of Montreal
2006   Visiting Professor (Grand Rounds and Teaching Rounds),
       University of Chicago Department of Neurosurgery, Chicago,
       IL
2006   International Biometric Society, Eastern North American
       Region, Tampa, FL (Junior Investigators Workshop: Grant
       Writing)
2006   International Biometric Society, Eastern North American
       Region, Tampa, FL (IMS session)
2006   International Biometric Society, Montreal, CA (abstract ac-
       cepted for oral presentation)
2006   International Society for Clinical Biostatistics, Geneva,
       Switzerland, (abstract accepted for oral presentation)
2006   Harvard Medical School Division on Aging/McLean Hospital
       Geriatric Psychiatry Seminar Series, Boston, MA
2006   Harvard Applied Statistics Workshop, Department of
       Government
2006   Dana-Farber/Brigham and Women’s Cancer Center Neuro-
       oncology Conference Series
2007   Pfizer Statistical Research Group Seminar, New London, CT
2007   Applied Statistics Symposium, International Chinese Statis-
       tical Association Annual Meeting, Raleigh, NC
2008   University of Michigan Department of Biostatistics Seminar,
       Ann Arbor, MI
2008   Cowen & Company 11th Annual Therapeutics Conference,
       New York, NY
2009   Joint Statistical Meetings, Washtington, DC
2009   International Society for Clinical Biostatistics, Prague,
       Czech Republic
2009   Yale Department of Biostatistics Seminar, New Haven, CT
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Rebecca A. Betensky

2010   New York University Department of Statistics (Stern School
       of Business) Seminar, New York, NY
2010   University of Massachusetts Department of Biostatistics
       Seminar, Amherst, MA
2010   Frontiers in Applied and Computational Mathematics 2010
       (FACM ’10), New Jersey Institute of Technology, Newark,
       NJ
2011   EH527: Molecular Signals to Understand Exposure Biology,
       Harvard School of Public Health, Boston, MA
2011   Centre De Recherces Mathematiques, Analysis of Survival
       and Event History Data Workshop, Montreal, CA
2011   Harvard School of Public Health Brain Health Collo-
       quium: Symposium on issues in the design and analysis of
       Alzheimer’s Disease Studies, Boston, MA
2012   Harvard College Department of Statistics, Junior Concen-
       trators’ Seminar, Cambridge, MA
2012   EH527: Molecular Signals to Understand Exposure Biology,
       Harvard School of Public Health, Boston, MA
2012   Annual Conference on Statistical Issues in Clinical Trials,
       University of Pennsylvania, Philadpelphia, PA
2012   International Society for Clinical Biostatistics, Bergen
       Norway
2013   7th Meeting of the Eastern Mediteranean Region of the In-
       ternational Biometric Society, Tel Aviv, Israel
2013   Symposium on Adaptive Clinical Trials: Statistical, Ethi-
       cal & Regulatory Considerations, Harvard Medical School,
       Boston, MA
2013   Biostatistics Department Seminar, University of Kansas
       Medical Center, Kansas City, Kansas
2013   6th International Conference of the ERCIM WG on Compu-
       tational and Methodological Statistics, London, UK
2014   Ivy Plus Symposium, Cambridge, MA
2014   International Biometric Society, Florence, Italy (abstract ac-
       cepted for oral presentation)
2014   Advanced Course on Analysis Methods and Modeling in
       Biomedical Research, Coimbra, Portugal
2015   Infinte Possibilities Conference, Corvalis, Oregon
2015   ENAR Spring Meeting of the International Biometric Soci-
       ety, Miami, FL (invited poster)
2015   Workshop on Flexible Models for Longitudinal and Survival
       Data with Applications in Biostatistics, University of War-
       wick, Coventry, UK (Keynote speaker)
2015   DF/HCC Biostatistics and Computational Biology Lunch
       Workshop on practice-changing clinical trials, panelist



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Rebecca A. Betensky

 2016   Howard University Department of Mathematics Symposium,
        Washington, DC
 2016   Joint Biostatistics Symposium (Ohio State University, Case
        Western Reserve University, Cleveland Clinic Foundation),
        Keynote Speaker, Columbus, OH
 2016   New England Regional Coordination Center (NIH StrokeNet
        Trials Network) Research and Education Symposium, Ex-
        pert Panelist, Boston, MA
 2016   Workshop on the Statistical Analysis of Multiple Outcome
        Data, Beijing, China
 2016   Boston University Biostatistics Seminar, Boston, MA


Major Research Interests
Survival analysis, cancer genomics, latent class modeling, genetic epidemiology,
correlated binary data.




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Rebecca A. Betensky

Major Administrative Responsibilities
 1995 – 2015           Member, written Qualifying Exam Committee, Department
                       of Biostatistics
 1995 – 1996           Member, Thesis Committees, Soyeon Kim, Qing Liang, He-
                       lene Boucher, Carrie Wager
 1999 – 2001           Chair, Department of Biostatistics Colloquium Committee
 2000                  Chair, Search Committee for Junior Faculty Member in En-
                       vironmental Health
 2001                  Member, Dean’s planning committee for Junior Faculty
                       Retreat
 2001 – 2002           Chair, Search Committee for Program in Population
                       Genetics
 2002 –                Director of Statistics, Center for Translational Neurology Re-
                       search, Harvard Center for Neurodegeneration and Repair
 2002 – 2005,
 2010 –               Co-Leader, Biostatistics Program, Dana-Farber/Harvard
                      Cancer Center
 2002,2005,2006, 2011 Chair, Written Qualifying Exam Committee, Department of
                      Biostatistics
 2002                 Member, Search Committee for Junior Faculty Member in
                      Epidemiologic Methods
 2002 – 2003          Member, Search Committee for Junior Faculty Member in
                      Statistical Genetics and Environmental Statistics
 2002                 Member, Dean’s informal divisional planning group
 2002                 Member, Dean’s Strategic Theme Development Working
                      Group
 2002 – 2006          Member, Committee on Educational Policy, HSPH
 2003 – 2008          Member, Faculty Diversity Committee, HSPH
 2003 – 2008          Co-Director, NIH sponsored IMSD minority student forum
                      and summer program
 2004 –               Director, NINDS sponsored T32 training grant, “Training in
                      Neurostatistics and Neuroepidemiology.”
 2005 – 2010          Leader, Biostatistics Program, Dana-Farber/Harvard Can-
                      cer Center
 2006 – 2008, 2014 –  Chair, Diversity Committee, Department of Biostatistics,
                      HSPH
 2007 – 2010          Chair, Curriculum Committee, Department of Biostatistics,
                      HSPH
 2007 –               Director,             Data         and            Statistics
                      Core, Massachusetts Alzheimer’s Disease Research Center,
                      MGH




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Rebecca A. Betensky

Major Administrative Responsibilities, continued
 2008 – 2008       Member, Committee on the Concerns of Women Faculty,
                   HSPH
 2008 – 2009       Chair, Search Committee for Chair of Biostatistical Sciences
                   at DFCI and Professor of Biostatistics at HSPH
 2009 – 2011       Chair, Committee on the Concerns of Women Faculty, HSPH
 2010 – 2011       Chair, Promotion Committe for faculty member in Biostatis-
                   tics, HSPH
 2014 –            Director, Summer Program in Biostatistics and Computa-
                   tional Biology, NIGMS T36 grant
 2011 – 2012       Member, Dean’s Institutional Sustainability Taskforce
 2012 – 2014       Member, Standing Committee on Appointments, Reappoint-
                   ments and Promotions, HSPH
 2012              Member, Ad Hoc tenure review committee for Harvard Med-
                   ical School statistician, HMS
 2013              Member, Ad Hoc tenure review committee for Harvard Med-
                   ical School epidemiologist, HMS
 2013              Chair, Department of Biostatistics Search Committee for ju-
                   nior faculty member, HSPH
 2014              Member, Tenure Review Committee, HSPH
 2014 – 2015       Member, PhD Admissions Committee, Department of Bio-
                   statistics, HSPH
 2014 –            Harvard Horizons Faculty Fellow, Graduate School of Arts
                   and Sciences, Harvard


Research and Training Support
 1996              Schering-Plough Award for Junior Faculty, Department of
                   Biostatistics.
 1997   –   2003   NIH FIRST Award (CA 075971)
 2003   –   2013   NIH R01 (CA 075971)
 2003   –   2006   NIH R03 (CA 105956)
 2004   –   2019   NIH T32 (NS 048005)
 2004   –   2010   NIH T35 (ES 007293)
 2006   –   2011   NIH R03 (CA 121884)
 2007   –   2010   NIH R25 (GM 055353)
 2012   –   2015   NIH R03 (CA 165070)
 2013   –   2018   NIH T36 (GM 093773)
 2016   –   2020   NIH R01 (NS 094610)




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Rebecca A. Betensky

Publications

  1. Gelman, R. S., Tormey, D. C., Betensky, R., et al. Actual versus ideal weight in
     the calculation of surface area: effects on dose of 11 chemotherapy agents, Cancer
     Treatment Reports, 1987; 71, 907–911.
  2. Whittemore, A. S., Keller, J. B., Betensky, R. Low-grade, latent prostate cancer
     volume: predictor of clinical cancer incidence?, Journal of the National Cancer
     Institute, 1991; 83, 1231–1235.
  3. Betensky, R. A. (1997) Conditional power calculations for early acceptance of H0
     embedded in sequential tests, Statistics in Medicine, 16, 465-477.
  4. Betensky, R. A. (1996) An O’Brien-Fleming sequential trial for comparing three
     threatments, Annals of Statistics, 24, 1765-1791.
  5. Betensky, R. A. & Whittemore, A. S. (1996) An analysis of correlated multivariate
     binary data: application to familial cancers of the ovary and breast, Applied
     Statistics, 45, 411-429.
  6. Betensky, R. A. (1997). Local estimation of smooth curves for longitudinal data,
     Statistics in Medicine 16, 2429-2445.
  7. Betensky, R. A. (1997). Early stopping to accept H0 based on conditional power:
     approximations and comparisons, Biometrics 53, 794-806..
  8. Betensky, R. A. (1997). Sequential analysis of censored survival data from three
     treatment groups, Biometrics 53, 807-822.
  9. Betensky, R. A. and Tierney, C. (1997). An examination of methods for sample
     size re-calculation during an experiment, Statistics in Medicine 16, 2587-2598.
 10. Betensky, R. A. (1998). Multiple imputation for early stopping of a complex
     clinical trial. Biometrics 54, 229-242.
 11. Betensky, R. A. (1998). A boundary crossing probability for the Bessel process,
     Advances in Applied Probability, 30, 807-830.
 12. Betensky, R. A. (1998) Construction of a continuous stopping boundary from an
     alpha spending function, Biometrics 54, 1061-1071.
 13. Betensky, R. A. and Rabinowitz, D. (1999) Maximally selected χ2 statistics for
     k × 2 tables. Biometrics 55, 317-320.
 14. Betensky, R. A., Lindsey, J. C., Ryan, L. M., and Wand, M. (1999). Local EM
     estimation of the hazard function for interval censored data. Biometrics 55,
     238-245.
 15. Weinberg, A., Betensky, R., Zhang, L., and Ray, G. (1998) Effect of shipment and
     storage, anticoagulant, and cell separation on lymphocyte proliferation assays in
     HIV-infected patients. Clinical and Diagnostic Laboratory Immunology 5, 804-807.

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Rebecca A. Betensky

 16. Betensky, R. A. and Finkelstein, D. M. (1999) A nonparametric maximum
     likelihood estimator for bivariate interval censored data. Statistics in Medicine 18,
     3089-3100.

 17. Marschner, I. C., Betensky, R. A., Degruttola, V., Hammer, S. M. and Kuritzkes,
     D. R. (1999) Clinical trials using HIV-1 RNA-based endpoints: statistical analysis
     and potential biases. J Acquir Immune Defic Syndr Hum Retrovirol. 20, 220-227.

 18. Betensky, R. A., Calvelli, T., and Pahwa, S. (1999). The predictive value of CD19
     measurements for bacterial infections. in children infected with HIV. Clinical and
     Diagnostic Laboratory Immunology 6, 247-253.

 19. Bebchuk, J. D. and Betensky, R. A. (2000) Multiple imputation for simple
     estimation of the hazard function based on interval censored data. Statistics in
     Medicine 19, 405-419.

 20. Betensky, R. A. (2000). Alternative derivations of a rule for early stopping in favor
     of H0 . The American Statistician 54, 35-39.

 21. Betensky, R. A. and Finkelstein, D. M. (1999) An extension of Kendall’s
     coefficient of concordance to bivariate interval censored data. Statistics in
     Medicine 18, 3101-3109.

 22. Betensky, R. A. (2000) Redistribution algorithms for censored data. Statistics and
     Probability Letters 46, 385-389.

 23. Betensky, R. A. (2000) On nonidentifiability and noninformative censoring for
     current status data. Biometrika, 87, 218-221.

 24. Rabinowitz, D., Betensky, R. A., and Tsiatis, A. A. (2000) Using conditional
     logistic regression to fit proportional odds models to interval censored data.
     Biometrics 56, 511-518.

 25. Hundeiker, C., Pineau, T., Cassar, G. Betensky, R. A., Gleichmann, E., and Esser,
     C. (1999) Thymocyte development in AH-receptor-deficient mice is refractory to
     TCDD-inducible changes. International Journal of Immunopharmacology 21,
     841-859.

 26. Betensky, R. A, Williams, P., and Lederman, H. M. (2001) A comparison of
     models for clustered binary outcomes: analysis of a designed immunology
     experiment. Applied Statistics 50, 43-61.

 27. Rabinowitz, D. and Betensky, R. A. (2000) Approximating the distribution of
     maximally selected McNemar’s statistics. Biometrics, 56, 897-902.

 28. Betensky, R. A., Talcott, J. A., and Weeks, J. C. (2000) Binary data with two,
     non-nested sources of clustering: an analysis of physician recommendations.
     Biostatistics, 1, 219-230.



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